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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CRIMINAL MINUTES − GENERAL




Case No.        2:17−cr−00206−JAK                                           Date    6/14/2018


Present :       The Honorable JOHN A. KRONSTADT, UNITED STATES DISTRICT JUDGE
Interpreter :   N/A
       Andrea Keifer                      Alex Joko                           Ellen Lansden
        Deputy Clerk               Court Reporter/Recorder               Assistant U.S. Attorney

U.S.A. v. Defendant(s):       Present Cust. Bond         Attorneys for Defendants: Present App. Ret.
1. Trevon Maurice Franklin    X             X            1. Summer Lacey, DFPD X           X


Proceedings: CHANGE OF PLEA


       X         Defendant moves to change his plea to an Information .

       X         Defendant is sworn.

       X         Defendant enters a new and different plea of GUILTY to Count(s) 1 .

       X         The Court advises the defendant of his Constitutional rights and questions the
                 defendant regarding the plea of GUILTY. The Court finds there is an independent
                 factual basis for the plea and further finds the plea is made freely, intelligently and
                 voluntarily, and with a full understanding of the nature of the charges, the
                 consequences of the plea and of defendant's Constitutional rights. The Court accepts
                 the plea and orders that the plea be entered.

       X         The Court refers the defendant to the Probation Office for investigation and a
                 complete report and the matter is continued to September 27, 2018 at 08:30 AM for
                 sentencing. Sentencing position papers shall be filed September 13, 2018. Counsel
                 shall contact the clerk if counsel do not intend to file sentencing position papers.

      X          The Court, with the concurrence of the Government, allows the defendant to remain
                 on bond and advises of the consequences of a violation of terms and conditions or a
                 failure to appear.


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